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Attorneys for Etison LLC


                              UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO


ETISON LLC, dba CLICK.FUNNELS, an
Idaho Limited Liability Company,                       Case No.

                Plaintiff,                             COMPLAINT

vs.

NAMECHEAP, INC. , a Delaware corporation,
doing business as WHOISGUARD, INC.; and
DOES I through XX,

                Defendants.


       Etison LLC, dba C lick.Funnels (herein refe1Ted to as " C lick.Funnels"), by and through its

attorneys of record, McFarland Ritter PLLC, pleads and complains as fo llows:

                                           I. PARTIES

       1.       Click.Funnels is an Idaho limited liability company, with its principle place of

business in Ada County, Idaho.

       2.       Defendant Namecheap, Inc. (" Namecheap") is a Delaware Corporation having a

principle place of business in Phoenix, Arizona.



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        3.       On information and belief, Does I through XX are owners, employees, associates,

affiliates, customers or agents of Namecheap and the operator of a website located at

www.getwsodo.com (the "Website").

                                  II. JURISDICTION AND VENUE

        4.       This is a c ivil action seeking damages and injunctive rel ief for trademark

infringement (15 U .S.C. § 105 1, el seq.), and copyright infringement (17 U.S.C. § 10 1, el seq.).

This Court has jurisdiction under 15 U.S.C. § 112 1(a) el seq. (trademark) and 28 U.S.C. §1338,

et seq. (copyright and trademark infringement) and 28 U.S.C. § 1331 (federal question).

        5.       Venue in this D istrict is proper under 28 U.S.C. §§ 139 1 and 1400. T his Court has

personal j urisdiction over Defendants because a substantial part of the acts of infringement

complained of herein occurred in this District.

                                   III. GENERAL ALLEGATIONS

        6.       C lickFunnels realleges paragraphs 1 through 5 above and incorporate the same by

reference herein as if set forth in fu ll.

        7.       ClickFunnels develops on-line marketing tools, including website and sales funnel

software, as well as audio, visual, and digital creative works and business training products.

ClickFunnels has, at great expense, developed world-wide recognition of its name and good will

in its name, products and services. C lickFunnels has nearly I 00,000 customers world-w ide.

        8.       C lickFunnels is the owner of numerous federally-registered trademarks,

including, inter alia, CLICKFUNNELS, Reg. No. 4993984; the Click.Funnels logo, Reg. No.

514531 1; TRAFFIC SECRETS, Reg. No. 5063566; ONE FUNNEL A WAY CHALLENGE,

Reg. No. 5839558 (collectively, the "Registered Trademarks").



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          9.       Defendant Namecheap is a registrar of domain names used on the Internet.

          10.     Policies of the Internet Corporation of Assigned Names and N umbers

("ICANN"), the entity w hic h regulates the registering of " .com" domain names, requires the

registrant of a domain name to provide the registrant's name and contact information to the

public.

          I I.     One important reason for the registrant' s name and contact information to be

public is to a llow owners of inte ll ectual property to communicate w ith , a nd enforce their rights

against, those wh o pirate or otherwise infringe intellectual property.

          12.      Namecheap provides a proxy name service to its domain name registrant

customers which a llows those c ustomers to disguise their true identity by using the name

WHOIS GUARD, a whoisguard.com email address, a Panamanian post office box address, and a

fictitious phone and fax number.

          I 3.     On information and belief, WhoisGuard is frequentl y used by companies and

individua ls who infringe intellectual property of third parties to hide the ir identities a nd impede

the efforts of inte llectual property owners to protect their rights.

          14.      Cmrently, and, o n informatio n and belief, since at least 20 I 6, Namecheap has

been the registrant of the domain na me www.getwsodo.com.

          15.      Namecheap has used the WHOISGUARD name and contact information as the

publicly available contact information for the registrant of the Website.

          16.      T he Website conta ins a number of informational products created by

C lickFunnels, which are protected by trademark law and copyright law, including b ut not lim ited

to:


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                                         Product
   Name Of         Product Owned
                                        Protected          Defendant's URL Where Offered
   Product              By
                                           Bv
                                        Registered     httgs://www.getwsodo.com/ russell-
    Traffic                             Trademark      brunson-traffic-
                    Clickf wmels
    Secrets                                and         secrets/httgs://www.getwsodo.com/russell-
                                        Copyright      brunson-traffic-secrets/
                                        Registered
  One Funnel
                                        Trademark      httgs://www.getwsodo.com/russell-
    Away            C lickfunnels
                                           and         bru nson-one-funnel-a way-challan ge/
  Challenge
                                        Copyright
                                        Registered
                                        Trademark      httgs://www.getwsodo.com/ russell-
    30 Days          Clickfunnels
                                           and         brunson-30-days/
                                        Copyright

       17.     The above-cited informational products (collectively, the "Infringed Products")

are offered by Clickfunnels across the Nation and across the world for sale at various access-

controlled online platforms. Defendants' offering of such products for sale at the Website is

intended and is likely to confuse the public concerning the connection, affi liation, or

endorsement of Defendants by C lickfunnels, and is also intended to divert sales proceeds from

Clickfunnels to Defendants.

       18.     In June, July and August 2019, Clickfunnels caused a series ofDMCA take-down

notices to be sent to Namecheap and others regarding the Infringed Products. Clickfunnels

received no response from anyone to those DMCA take-down notices.

        19.    On or about August 30, 2019, Clickfunnels caused a letter to be sent by

Clickfunnels' legal counsel to Namecheap's legal department, as well as to the WhoisGuard

P.O. Box, via U.S. Mail, International Mail, and e-mail. A true and correct copy of that letter is

attached hereto as Exhibit A. Namecheap neither removed the Infringed Products from the




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Website, nor disc losed the name of its customer(s) who in fact registered the

www.getwsodo.com domain name and is operating the Website.

                                                IV. CLAIMS

COUNT I - INFRINGEMENT OF CLICKFUNNELS' TRADEMARKS (15 U.S.C. §1125)

        20.     ClickFunnels realleges paragraphs I through 19 above and incorporates the same

by reference herein as if set forth in fu ll.

        2 1.    Since at least 20 14, C lickFunnels has been the owner of the valuable Registered

Trademark CLICKFUNNELS, Reg. No. 4993984; since at least 20 17, ClickFunnels has been the

owner of a valuable, Registered Trademark in the ClickFunnels logo, Reg. No. 51453 11 ; since at

least 20 16, C lickFunnels has been the owner of the valuable Registered T rademark TRAFFIC

SECRETS, Reg. No. 5063566; and since at least 2019, ClickFunnels has been the owner of the

valuable Registered Trademark ONE FUNNEL AW A Y CHALLENGE, Reg. No. 5839558.

        22.     The consuming public recognizes the Registered Trademarks as being distinctive

and as identifiers of the high-qua li ty goods and services associated with Cl ickFunnels.

        _., _
        ?"      The Registered Trademarks have acquired secondary meaning in the minds of the

consuming publi c.

        24.     Notwithstand ing ClickFunnels' prior rights in the Registered Trademarks,

Defendants have used and continue to use, the trademarks on the Website to advertise goods and

services which appear to be identical to the Infringed Products.

        25.      Defendants' use of the Registered Trademarks (or confusingly similar

trademarks) in connection with the advertisement and sale of the Infringed Products - products




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in interstate commerce - is likely to cause confusion, mistake, or deception as to the origin,

sponsorship or approval of Defendants' goods.

       26.      Defendants' use of the Registered Trademarks is also likely to cause initial

interest and other confusion among consumers and potential consumers of Click.Funnels' goods.

       27.      Defendants' actions constitute trademark infringement in violation of 15 U.S.C.

§1125(a).

       28.      Defendants have caused and will continue to cause, unless enjoined, irreparable

harm to the goodwill and reputation of Click.Funnels.

        29.     Defendant Namecheap, by enabling the infringement, hiding the identity of its

customer(s) who is(are) committing the infringement, and otherwise shielding its customer(s)

from liability, is contributorily liable for infringement.

        30.     Defendants' actions were taken with knowledge of ClickFunnels' rights, and thus

constitute deliberate and intentional infringement, justifying an award of treble damages to

Click.Funnels, pursuant to 15 U.S.C. §1117, in an amount to be determined at trial, as well as

preliminary and permanent injunctive relief to prevent future infringement.

 COUNT II - INFRINGEMENT OF CLICKFUNNELS' COPYRIGHTS (17 U.S.C. § 501)

        31.     ClickFunnels realleges paragraphs 1 through 30 above and incorporates the same

by reference herein as if set forth in full.

        32.     As the owner of copyrights in the "Traffic Secrets," "One Funnel Away

Challenge," and " 30 Days" products (collectively, the " Click.Funnels Products") referenced in

the table above, Click.Funnels possesses exclusive rights in the Click.Funnels Products, including




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the exclusive rights to reproduce, create deri vati ve works based upon and publicly distribute

copies of and derivative works based upon the Clickfunnels Products.

        33.     Defendants have infringed and are infringing C lickfunnels' exclusive rights in the

Clickfunnels Products, via the Website, w hich is offering exact copies of, or derivative works

that are substantially similar to, the C lickfunnels Products, and selling the Clickfunnels

Products for profit.

        34.     Because the C lickfunnels Products are digital products, available as digital

downloads from C lickFunnels' autho rized on line platforms, exact copies are easily made and

resold by Defendants.

        35.     Defendant Namecheap, by enabling the infringement, hiding the identity of its

customer(s) w ho is(are) committing the infringement, and otherwise shielding its customer(s)

from liability, is contributorily liable for infringement.

        36.     Defendants ' infringement of Clickfunnels' copyrig hts is ongoing, and has caused,

and unless enj oined by the Court w ill continue to cause, Clickfunnels irreparable harm.

        37.     Click.Funne ls has been damaged by Defendants' infringement of C lickfu1rnels'

copyrights in the C lickfunne ls Products in an amount wh ich wi ll be proven at trial, and is

entitled to money damages, as well as a preliminary injunction and a permanent injunction

enjoining continued infringement.

                                       V. ATTORNEY FEES

        38.     Clickfunnels realleges and incorporates paragraphs 1 through 37 above as if set

forth herein in full.




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           39.   Defendants' continued infringement of C lick.Funnels' trademark and copyrights is

done with knowledge and in bad faith, and is in violation of federal law. As a result,

Click.Funnels has been required to prosecute this action. Under 15 U.S.C. § 1117, Click.Funnels is

entitled to recover its costs and reasonable attorneys' fees incurred in prosecuting this action.

Based upon C lick.Funnels' experience in litigating such claims, reasonable attorneys' fees in the

event that judgment is entered by default are $ 10,000.00.

                                        VI. PRAYER FOR RELIEF

           WHEREFORE, Click.Funnels prays for entry of j udgment against Defendants as follows:

           AS TO CLAIM FOR RELIEF ONE:

      I.          A judgment that Defendants have infringed Click.Funnels' trademark rights in the

Registered Trademarks;

      2.          For recovery of Defendants' profits, pursuant to 15 U.S.C. § 1117, the preci se

amount to be proven at tria l;

      3.          For Click.Funnels' actual damages, pursuant to 15 U .S.C. § 1117, the precise

amount to be proven at trial;

      4.          For an award of treble damages, pursuant to 15 U.S.C . § 111 7, the precise amount

to be proven at tria l;

      5.          For a temporary and preliminary injunction enjoining Defendants and those acting

in privity or concert with Defendants from infring ing Click.Funnels' trademark rights in the

Registered Trademarks by using the same or confusingly similar marks, in the advertising or

selling of goods, until the Court has decided the merits of this action; and




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      6.            For a permanent injunction enj oining Defendants and those acting in privity or

concert w ith Defendants from using Clickfunnels' trademarks, or confusingly similar marks, in

the advertising or selling of goods.

            AS TO CLAIMS FOR RELIEF TWO:

            1.      A judgment that Defendants have infringed Cli ckFunnels' copyrig hts in the

Clickf unnels Products;

            2.       For actual damages, pursuant to 17 U.S .C. §504, the precise amo unt to be proven

at trial;

            3.       For a tempo rary and preliminary injunction enjoining Defendants and those acting

in privity or concert w ith Defendants fro m the unauthorized making, using, ad vertising, and

selling of the Clickfunnels Products, until the Court has decided the merits of this action; and

            4.       For a permanent injunction enjoining Defendants and those acting in privity or

concert w ith Defendants fro m the unauthorized making, us ing, ad vertising, and selling of the

Clickfunnels Products.

            AS TO ALL CLAIMS FOR RELIEF:

            I.       For costs and attorneys' fees incurred by C lickFunnels in prosecuting this action;

and

            2.       For such other and fu rther relief as the Court deem s just and proper.

                                                   VII.
                                              JURY DEMAND

            C lickfunnels demands a jury by trial on all clai ms fo r relief and all issues so triable.




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      DATED THIS ~     day of October, 2019.

                                     MCFARLAND RITTER PLLC




                                     By     \~
                                          Ry\ blr- McFarland, !SB No. 7347
                                          Attr neys for Etison LLC




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EXHIBIT A
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                                                                  McFARLAND◊ RITTER

 ,       I     , •\
·IDAHO                                                                           30 August 2019
         VIA U.S. MAIL
         VIA INTERNATIONAL MAIL
         VIA EMAIL: abuse@namecheap.com, dmca@namecheap.com, Legal@namecheap.com

             Whoi sGuard, Inc.                                                     Namecheap Legal Department
             P.O. Box 0823-03411                                                   4600 East Washington Street, Suite 305
             PANAMA                                                                Phoenix, AZ 85034

                      Re: Copyright Infringement of Elison LLC 's Material

         To Whom it May Concern,

                This firm represents Etison LLC ("Etison"). Etison is the creator and licensor of the
         ClickFunnels software, which has become famous throughout the world. Etison is also a prolific
         publisher of creative, copyright-protected business development and training content. Etison's
         worldwide businesses and reputation is built on this creative content, and both of them have
         developed famous and valuable trademarks in the course of offering this.

                It has come to Etison' s attention that you are advertising and selling Etison' s creative,
         copyright-protected, specificall y, " Russell Brunson - 30 Days; Videos, PDF's." This content is
         being advertised and offered for sale at https://www.getwsodo.com/russell-brunson-30-d.

                 Your actions constitute both copyright arid trademark infringement. On June 24, 2019,
         Etison sent you a DMCA take-down notice, which you have ignored. Furthermore, by use of
         Russell Brunson's likeness and name, and ClickFunne ls' trademark-protected name, you are
         likely to confuse the consuming public as to the affiliation, connection, endorsement or support
         between you and M r. Brunson and Etison.

                Given your refusal to remove the infringing material, as required by law fo llowing
         Etison's DMCA take-down notice, Etison has instructed me to commence legal action against
         you. Please be advised that if you have not removed the copyright- and trademark-infringing
         material by September 10, 20 19, and confirmed such removal by reply to this letter, we w ill
         commence such action w ithout further notice to you.

                Namecheap: demand is hereby made that you disclose the name and contact information
         of your client who is operating the website at www.getwsodo.com, or Etison w ill bring these
         copyright-and trademark-infringement claims against you directly.

                                                                                 Sincerely,
                                                                                  ·~
                                                                                 RV,an McFarland
                                                                                 ifgal Counsel




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